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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *   Case No.: 21-15-APM
THOMAS EDWARD CALDWELL                            *
       *       *       *      *       *       *       *      *         *      *      *

                                             ORDER
       Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
Release, it is hereby ordered by the United States District Court for the District of Columbia that
the Motion be granted and that the Defendant be permitted to attend the Oakrum Baptist Church
on Sunday, April 24, 2022 from 9:00 a.m. to 3:00 p.m.




       __________________                     ____________________________________
       Date                                   Honorable Amit P. Mehta
                                              United States District Court
